Case 19-32841-hdh11 Doc 233 Filed 12/23/20   Entered 12/23/20 15:42:49   Page 1 of 4
Case 19-32841-hdh11 Doc 233 Filed 12/23/20   Entered 12/23/20 15:42:49   Page 2 of 4
POST CONFIRMATION
QUARTERLY BANK RECONCILEMENT


CASE NAME:
      Dougherty's Holdings, Inc.


CASE NUMBER:




The reorganized debtor must complete the reconciliation below for each bank account, including all general, payroll
and tax accounts, as well as all savings and investment accounts, money market accounts, certificates of deposits, governmental
obligations, etc Accounts'with restricted funds should be identified by placing an asterisk next to the account number
Attach additional sheets for each bank reconcilement if necessary


QUARTER ENDING: 3/31/2020
      Bank Reconciliations                                     Account #1                           Account #2                       Account #3              Account #4             Account #5
 A    Bank                                                FNB of Omaha                       ProsperityBank                      ProsperityBank         ProsperityBank         RegionsBank
                                                                                                                                                                                                             TOTAL
 B    Account Number                                             3382                                 4208                                   4216                 7754                   1499
 C    Purpose (Type)                                          Commercial                       Commercial                             Utilities             Commercial             Commercial
 1    Balance Per Bank Statement                                   $12,676.25                       $161,365.58                               $5,000.00                 $0.00                    $0.00       $179,041.83
 2    Add: Total Deposits Not Credited                                                                                                                                                                   +         $0.00
 3    Subtract: Outstanding Checks                                                                        $37,850.93                                                                                          $37,850.93
 4    Other Reconciling Items                                                                                                                                                                                      $0.00
 5    Month End Balance Per Books                                     $12,676.25                        $123,514.65                         $5,000.00                     $0.00                  $0.00 =     $141,190.90
                                                                                                                                                                                                                           Case 19-32841-hdh11 Doc 233 Filed 12/23/20




 6    Number of Last Check Written                                                                           21505                                                                                                21505
 7    Cash: Currency on Hand                                                                                                                                                                             +         $0.00
 8    Total Cash - End Of Month                                       $12,676.25                        $123,514.65                         $5,000.00                     $0.00                  $0.00 =     $141,190.90




      CASH IN:
      INVESTMENT ACCOUNTS
                                                   Date of                             Type of
      Bank, Account Name & Number                  Purchase                            Instrument                                                                                                             Value
 9                                                                                                                                                                                                       +
 10                                                                                                                                                                                                      +
 11                                                                                                                                                                                                      +
 12                                                                                                                                                                                                      +
                                                                                                                                                                                                                           Entered 12/23/20 15:42:49




 13 Total Cash Investments                                                                                                                                                                               =         $0.00
 14 TOTAL CASH                                     LINE 8 - PLUS LINE 13 = LINE 14 ****                                                                                                                      $141,190.90
                                                                                                                                                                                                              ****
 **** Must tie to Line 4, Quarterly Operating Report
                                                                                                                                                                                                                           Page 3 of 4
POST CONFIRMATION
QUARTERLY BANK RECONCILEMENT


CASE NAME:
      Dougherty's Holdings, Inc.


CASE NUMBER:




The reorganized debtor must complete the reconciliation below for each bank account, including all general, payroll
and tax accounts, as well as all savings and investment accounts, money market accounts, certificates of deposits, governmental
obligations, etc Accounts'with restricted funds should be identified by placing an asterisk next to the account number
Attach additional sheets for each bank reconcilement if necessary


QUARTER ENDING: 12/31/2019
      Bank Reconciliations                                     Account #1                           Account #2                       Account #3              Account #4           Account #5
 A    Bank                                                FNB of Omaha                       ProsperityBank                      ProsperityBank         ProsperityBank       RegionsBank
                                                                                                                                                                                                           TOTAL
 B    Account Number                                             3382                                 4208                                   4216                 7754                 1499
 C    Purpose (Type)                                          Commercial                       Commercial                             Utilities             Commercial           Commercial
 1    Balance Per Bank Statement                                   $68,256.32                       $202,373.05                                   $0.00             $2,500.00                  $0.00       $273,129.37
 2    Add: Total Deposits Not Credited                                                                                                                                                                 +         $0.00
 3    Subtract: Outstanding Checks                                                                        $16,014.27                                                $1,373.76                               $17,388.03
 4    Other Reconciling Items                                                                                                                                                                                    $0.00
 5    Month End Balance Per Books                                     $68,256.32                       $186,358.78                                $0.00             $1,126.24                  $0.00 =     $255,741.34
                                                                                                                                                                                                                         Case 19-32841-hdh11 Doc 233 Filed 12/23/20




 6    Number of Last Check Written                                                                   21105                                                                                                      21105
 7    Cash: Currency on Hand                                                                                                                                                                           +         $0.00
 8    Total Cash - End Of Month                                       $68,256.32                        $186,358.78                               $0.00             $1,126.24                  $0.00 =     $255,741.34




      CASH IN:
      INVESTMENT ACCOUNTS
                                                   Date of                             Type of
      Bank, Account Name & Number                  Purchase                            Instrument                                                                                                           Value
 9                                                                                                                                                                                                     +
 10                                                                                                                                                                                                    +
 11                                                                                                                                                                                                    +
 12                                                                                                                                                                                                    +
                                                                                                                                                                                                                         Entered 12/23/20 15:42:49




 13 Total Cash Investments                                                                                                                                                                             =         $0.00
 14 TOTAL CASH                                     LINE 8 - PLUS LINE 13 = LINE 14 ****                                                                                                                    $255,741.34
                                                                                                                                                                                                            ****
 **** Must tie to Line 4, Quarterly Operating Report
                                                                                                                                                                                                                         Page 4 of 4
